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          Okie Farms, LLC                               December 8, 2011

          11-93144-BHL-11

                                           12/8/11 - 12/31/11




                                          No accounts
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           Okie Farms, LLC                            December 8, 2011

           11-93144-BHL-11

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             Okie Farms, LLC                       December 8, 2011

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